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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1799V
                                         UNPUBLISHED


    MICHELLE BRASSINGTON,                                     Chief Special Master Corcoran

                         Petitioner,                          Filed: April 1, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES 1

        On November 21, 2018, Michelle Brassington filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered a left Shoulder Injury
Related to Vaccine Administration (SIRVA) as a result of an influenza (“flu”) vaccine
administered on September 21, 2017. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On December 12, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for a left SIRVA. On March 31, 2020, Respondent filed a
proffer on award of compensation (“Proffer”) indicating Petitioner should be awarded
$48,290.77. Proffer at 1. The award is comprised of $47,500.00 for past and future

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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pain and suffering and $790.77 in unreimbursed medical expenses. Id. In the Proffer,
Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the
Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $48,290.77 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS


MICHELLE BRASSINGTON,                         )
                                              )
              Petitioner,                     )       No. 18-1799V
                                              )       Chief Special Master
            v.                                )       Brian Corcoran
                                              )       ECF
                                              )
SECRETARY OF HEALTH                           )
AND HUMAN SERVICES,                           )
                                              )
                 Respondent.                  )
                                              )


          RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On December 9, 2019, respondent filed his Rule 4(c) Report, in which he

conceded entitlement. On December 12, 2019, the Court issued a Ruling on Entitlement,

finding that petitioner is entitled to compensation for her Shoulder Injury Related to

Vaccine Administration (“SIRVA”). Respondent now proffers that petitioner receive an

award of a lump sum of $48,290.77 in the form of a check payable to petitioner. The

award is comprised of the following: $47,500.00 for past and future pain and suffering,

and $790.77 in unreimbursed medical expenses. This amount represents compensation

for all elements of compensation under 42 U.S.C. § 300aa-15(a) to which petitioner is

entitled. 1 Petitioner agrees.

         Petitioner is a competent adult. Evidence of guardianship is not required in this

case.



1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering.
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                                   Respectfully submitted,

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                                   Assistant Attorney General

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                                   s/ Camille M. Collett
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Dated: March 31, 2020
